1 of 8 Page|D 117

  
 

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FRIENDS oF MADISoN sCoTT, \J ’ M n,
Plaintiffs, "
Civil Action No. \\‘N'M
v. 3:02-CV-1265-R mg §§Q/

BAYLOR UNIVERSITY MEDICAL

CENTER d/b/a THE KIMBERLY H.

COURTWRIGHT & JOSEPH SUMMERS

INSTITUTE OF METABOLIC DISEASE,
Defendant.

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FINDINGS, CONCLUSIONS, AND RECOMMENDATION
OF THE UNITED STATES MAGISTRATE JUDGE

Pursuant to the District Court’s Order of Reference, entered July 31, 2002, “Plaintiffs’
Motion for Assessment of Costs, Expenses, Fees and/or Sanctions,” filed July 31, 2002, is before
this Court for hearing, if necessary, and for recommendation For the following reasons, the
Plaintiffs’ motion should be GRANTED in part and DENIED in part.

I. Background

On July 22, 2002, the District Court adopted this Court’s recommendation that the instant
case be remanded to state court due to the improper removal by Defendant Baylor University
Medical Center (“Baylor”). In the instant motion, Which Was filed nine days after the order of
remand, Plaintiffs seek attorney fees in the amount of $30,375.00, as Well as sanctions in the amount
of $82,720.00 per month for each month the state court trial has been delayed due to the improper
removal. (P.s’ Br. at 18; P.s’ App. at EX. l-4.)

The Court now turns to the legal standards that Will guide its analysis.

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Case 3:02-cv-01265-|.Document 20 Filed 11/04/02 P£Z of 8 Page|D 118

II. Legal Standards

A. 28 U.S.C. § 144 7(c)

“An order remanding the case may require payment of just costs and any actual expenses,
including attorney fees, incurred as a result of the removal.” 28 U.S.C. § l447(c). However, there
is no automatic entitlement to attorney fees under § 1447(c) for an improper removal. Valdes v. Wal-
Mart Stores, Inc. , 199 F.3d 290, 292 (5th Cir. 2000). See also Garbie v. Dal`mlerChrysler Corp. , 21 1
F.3d 407, 411 (7th Cir. 2000) (holding that § 1447(c) is a fee-shifting statute and that therefore the
prevailing party is presumptively entitled to recover attorney fees). Rather, the Court must consider
the objective merits of the defendant’s case at the time of removal_as opposed to the motive of the
defendants-in deciding whether an improper removal warrants an award of attorney fees under §
l447(c). Valdes, 199 F.3d at 292-93. A district court’s decision “to award or not to award attorney[]
fees is reviewed for abuse of discretion.” Id. at 292.

B. “Lodestar” Method for Calculating Attomey Fees

Once a court determines that an improper removal warrants an award of attorney fees, the
court employs the “lodestar” method to calculate the amount of fees to be awarded. Louisz`ana
Power & Light C0. v. Kellstrom, 50 F.3d 319, 324 (5th Cir. 1995). The “lodestar” method requires
the court to “determine the reasonable number of hours expended on the litigation and the reasonable
hourly rates for the participating lawyers.” ]d. The court must then “multiply the reasonable hours
by the reasonable hourly rates.” Id. The resulting figure is the “lodestar” fee amount. Id.
Determinations of reasonable hours and rates are reviewed for clear error. Ia’.

The court may adjust the “lodestar” fee amount upward or downward according to the

circumstances of the case. Id. ln determining Whether to adjust the “lodestar” fee amount, the court

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ease 3:02-cv-01265-F.)0cumem 20 Filed 11/04/02 Pa.a of a PagelD 119

must consider the twelve factors set forth in Johnson v. Georgia Highway Express, Inc. , 488 F.2d
714 (5th Cir. 1974). Wegner v. Standara' Ins. Co. , 129 F.3d 814, 822 (5th Cir. 1997). Those twelve
factors are:
(1) the time and labor required for the litigation; (2) the novelty and complication of
the issues; (3) the skill required to properly litigate the issues; (4) whether the
attorney had to refuse other work to litigate the case; (5) the attorney’ s customary fee;
(6) whether the fee is fixed or contingent; (7) whether the client or case
circumstances imposed any time constraints; (8) the amount involved and the results
obtained; (9) the experience, reputation, and ability of the attorneys; (10) whether the
case was “undesirable”; (1 1) the type of attorney-client relationship and whether that
relationship was long-standing; and (12) awards made in similar cases.
Id. at 822 n.17. Adjustments to the “lodestar” fee amount are reviewed for abuse of discretion Id.
at 822.
The Court now turns to the merits of the motion.
III. Analysis
As noted above, Plaintiffs seek $30,375.00 in attorney fees for 100 hours of attorney time,l
as well as $82,720.00 per month for each month the state court trial has been delayed due to the
improper removal. (P.s’ Br. at 18; P.s’ App. at Ex. 1-4.) Baylor objects to Plaintiffs’ motion on four
grounds: (1) that Plaintiffs filed the instant motion late, (2) that Baylor’s removal of the case was
objectively meritorious, (3) that Plaintiffs have claimed attorney fees that are not related to the

removal, and (4) that there is no legal basis for an award of sanctions. (D.’s Resp. at 4, 6, 7, 15 , 20,

22, 24.) The Court will address each of Baylor’s objections in turn.

 

lSpecifically, Plaintiffs seek $300 per hour for 18 hours of work for Attomey Michael G. Guajardo, $300
per hour for 9.5 hours of work for Attorney Quentin D. Brogdon, $250 per hour for 56.5 hours of work for Attomey
C. Michael Clark, and $500 per hour for 16 hours of work for Attorney Frank L. Branson. (P.s’ App. at Ex. 1-4.)

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Case 3:02-ev-01265-F.)ocument 20 Filed 11/04/02 Pa.4 of 8 Page|D 120

A. Timeliness of the Motion

Baylor contends that this Court lacks jurisdiction to hear the instant motion for attorney fees
because the filing of a certified remand order with the state court divests the federal court of
jurisdiction (Id. at 22.) Although the Fifth Circuit Court of Appeals has not addressed the issue,
the weight of authority provides that federal courts retain jurisdiction to consider motions for
attorney fees after a case has been remanded to state court. Wl`sconsin v. Hotlz'ne lndustries, Inc. , 236
F.3d 363, 365 (7th Cir. 2000) (holding that § 1447(c) allows federal courts to “retain jurisdiction to
consider collateral matters” and that “attorney’s fees may be awarded under a separate order”);
Stallworth v. Greater Cleveland Regional Transit Auth. , 105 F.3d 252, 256-57 (6th Cir. 1997)
(holding that “a district court may make an award of attorney fees and costs in a separate order
[after issuing an order of remand]” but that the motion for attorney fees “must be filed and served
no later than 14 days after [the issuance of the order of remand]”); Mz'nts v. Educational Testing
Serv. , 99 F.3d 1253, 125 7-58 (3d Cir. 1996) (holding that a district court can “entertain a request for
attorney’s fees and costs in a remanded case”). See also Sees v. Fagen, No. 3 :01-CV-2543-R, 2002
WL 460233 (N.D. Tex. Mar. 22, 2002) (entertaining a motion for attorney fees under § 1447(c) after
the case had been remanded to state court in a separate order); Lakelcmd Anesthesia, Inc. v. Aema
U. S. Healthcare, lnc. , No. CIV.A.00-1061, 2000 WL 1251945 (E.D. La. Aug. 31, 2000) (concluding
that motions for attorney fees “must be filed and served no later than 14 days after [the issuance of
the order of remand]”). Plaintiffs filed the instant motion on July 31, 2002, only nine (9) days after
the District Court entered its order of remand. Thus, even if a motion for attorney fees must be filed
no later than fourteen (14) days after the issuance of an order of remand, Plaintiffs have complied

with that requirement in the instant case. Thus, the Court retains jurisdiction to entertain the instant

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Case 3:02-cv-01265-|.Document 20 Filed 11/04/02 Pa.$ of 8 Page|D 121

motion under § l447(c).

The Court now turns to address the objective merits of Baylor’s removal for purposes of
determining whether attorney fees should be awarded under § l447(c). Valdes, 199 F.3d at 292-93.

B. Objective Merits of the Removal

Baylor contends that the removal from state court was objectively meritorious and that any
delay in the state court trial was occasioned solely by the conduct of Plaintiffs’ attorneys. (D.’s
Resp. at 6, 20.) lt is undisputed that Baylor removed the case on the sole basis that Plaintiffs’ Third
Supplemental Petition alleges that Baylor breached its duty of care to Plaintiffs by violating
standards set forth in the federal Clinical Laboratories Improvement Act (“CLIA”). Without
reaching the issue of whether Baylor’s conduct constituted bad faith, the Court concludes that
Baylor’s removal of the case from state court was not objectively meritorious. First, there is no
private, federal cause of action under CLIA. 42 U.S.C. § 263a (2002); Whitehead v. Ea'mondson,
No. 1:97CV29-S-D, 1998 WL 173226, at *1 (N.D. Miss. Mar. 24, 1998) (concluding that CLIA does
not provide a private cause of action). Second, Plaintiffs allege a violation of CLIA as an element
of their state cause of action for negligence (P.s’ App. at 61.) When these two circumstances
coexist, the United States Supreme Court has held that a complaint “does not state a claim ‘arising

935

under the Constitution, laws, or treaties of the United States. Merrell Dow Pharmaceuticals, lnc.
v. Thompson, 478 U.S. 804, 817 (1986). As such, Baylor’s removal of the case from state court was
not objectively meritorious in light of established Supreme Court precedent, and an award of attorney
fees is warranted under § l447(c).

The Court now turns to calculate the amount of attorney fees that should be awarded under

§ 1447(c).

Case 3:02-cv-01265-F.Jocument 20 Filed 11/04/02 P$G of 8 Page|D 122

C. Attorney Fees

As noted above, Plaintiffs seek $30,375.00 in attorney fees for 100 hours of attorney time.
(P.s’ App. at EX. 1-4.) Although Baylor does not challenge the reasonableness of the hourly rates
claimed by Plaintiffs’ counsel, Baylor does challenge the reasonableness of the number of hours.
(D.’s Resp. at 24-25.) Specifically, Baylor challenges 8.75 hours of Attorney Frank L. Branson’s
time that was spent on the state court litigation, as well as .75 hours of` Attorney C. Michael Clark’s
time that was spent on the state court litigation (Id.) Plaintiffs, relying on Park Nat’l Bank of
Houston v. Kaminetzky, 976 F. Supp. 571 (S.D. Tex. 1996), contend that the challenged hours are
reasonable because the hours “have been wasted as a result of Baylor’s improper removal of this
case.” (P.s’ App. at 79.) However, the Court does not read Park Nat ’l Bank as authorizing attorney
fees for “wasted” time in this case.2 As such, the hours claimed by Plaintiffs should be reduced by
8.75 hours for Attorney Frank L. Branson and by .75 hours for Attorney C. Michael Clark.

Accordingly, the Court concludes that the following hourly rates and hours are reasonable

due to Baylor’s improper removal in this case:

Attorney Michael G. Guaj ardo $300/hour 18.0 hours
Attorney Quentin D. Brogdon $300/hour 9.5 hours
Attorney C. Michael Clark $250/hour 55.75 hours
Attorney Frank L. Branson $500/hour 7.25 hours

Therefore, the “lodestar” fee amount in this case is §25,812.50. The Court concludes that the

“lodestar” fee amount need not be adjusted to account for the twelve factors set forth in Johnson v.

 

2 In their Reply, Plaintiffs do not address Baylor’s objection to the hours spent on the state court litigation
As such, Plaintiffs appear to have abandoned their “wasted” time argument.

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Case 3:02-cv-01265-|.Document 20 Filed 11/04/02 Pe.? of 8 Page|D 123

Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974). As such, Plaintiffs’ motion should
be GRANTED in part and DENIED in part as to attorney fees.

The Court now turns to address the issue of whether Plaintiffs are entitled to the other
sanctions they seek.

D. Other Sanctions

Plaintiffs seek $82,720.00 per month for each month the state court trial has been delayed
in this case due to Baylor’s improper removal.3 (P.s’ Br. at 15-16, 18.) However, Plaintiffs cite to
no authority that would allow this Court, through its inherent powers, to impose sanctions of this
variety and magnitude against Baylor even if the Court were to conclude that Baylor acted in bad
faith. As such, Plaintiffs’ motion should be DENIED as to the $82,720.00 per month in other
sanctions.

IV. Recommendation

For the foregoing reasons, the Court RECOMMENDS that “Plaintiffs’ Motion for
Assessment of Costs, EXpenses, Fees and/or Sanctions” be GRANTED in part and DENIED in
part. Accordingly, the Court RECOMMENDS that Baylor be ORDERED to reimburse Plaintiffs

in the amount of $25,812.50 in attorney fees due to the improper removal of this case.

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SO RECOMMENDED. z/ day of @éJOOZ.

 

UNITED STATES MAGISTRATE JUDGE

 

3 During a continuance hearing in state court, Baylor offered to pay Plaintiffs $82,720.00 per month for
each month of delay due to a continuance (P.s’ Br. at 15-16; D.’s Resp. at 15.) Plaintiffs rejected the offer in favor
of proceeding with the trial in state court. (P.s’ Br. at 10-11; D.’s Resp. at 16.)

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Case 3:02-cv-01265-.Document 20 Filed 11/04/02 Pz.8 of 8 Page|D 124

INSTRUCTIONS FOR SERVICE AND
NOTICE OF RIGHT TO APPEAL/OBJECT

Pursuant to Title 28, United States Code, Section 636(b)(1), any party who desires to object
to these findings, conclusions and recommendation must file and serve written objections within ten
(10) days after being served with a copy. A party filing objections must specifically identify those
findings, conclusions or recommendation to which objections are being made. The District Court
need not consider frivolous, conclusory or general objections. A party’s failure to file such written
objections to these proposed findings, conclusions and recommendation shall bar that party from a
de novo determination by the District Court. See Thomas v. Arn, 474 U.S. 140, 150 (1985),' Perales
v. Casillas, 950 F.2d 1066, 1070 (5th Cir. 1992). Additionally, any failure to file written objections
to the proposed findings, conclusions and recommendation within ten (10) days after being served
with a copy shall bar the aggrieved party from appealing the factual findings and legal conclusions
of the Magistrate Judge that are accepted by the District Court, except upon grounds of plain error.
Douglass v. United Servs. Auto. Ass ’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).

    

PAUL D. STICKNEY
UNITED STATES MAGISTRATE JUDGE

